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 1                                   UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3                                                   ***
 4     DAVID HANO,                                              Case No. 2:19-cv-02246-GMN-EJY
 5                     Plaintiff,
                                                                              ORDER
 6             v.
 7     STATE OF NEVADA, ex rel NEVADA
       DEPARTMENT OF CORRECTIONS, et al.,
 8
                       Defendants.
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10             Pending before the Court is ECF No. 146, which is Plaintiff’s Motion for an Order Directing
11    Defendants Produce for Viewing the 500 Records Filed Under Seal (ECF No. 135). The Court’s
12    review of Defendants’ filing at ECF No. 135 shows that it references Exhibit A attached to their
13    Response to Plaintiff’s Motion for Preliminary Injunction. Exhibit A is a single page medical record,
14    not 500 pages as Plaintiff claims. ECF No. 134. Defendants indicate they will make this exhibit
15    available to Plaintiff for viewing.
16             Accordingly, IT IS HEREBY ORDERED that Plaintiff’s Motion for an Order Directing
17    Defendants Produce for Viewing the 500 Records Filed Under Seal (ECF No. 146) is GRANTED
18    in part and DENIED in part.
19             IT IS FURTHER ORDERED that Defendants shall, no later than five (5) court days from
20    the date of this Order, make Exhibit A available to Plaintiff for viewing if they have not already done
21    so.
22             IT IS FURTHER ORDERED that Defendants shall file a Notice of Compliance with this
23    Order.
24             DATED this 8th day of November, 2021.
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27                                                  ELAYNA J. YOUCHAH
                                                    UNITED STATES MAGISTRATE JUDGE
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